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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


TEXAS ASS’N FOR MONEY SERVICES
BUSINESSES (TAMSB); HIGH VALUE,
INC.; REYNOSA CASA DE CAMBIO,
INC.; NYDIA REGALADO d/b/a BEST
RATE EXCHANGE; MARIO REGALADO
d/b/a BORDER INTERNATIONAL
SERVICES; LAREDO INSURANCE
SERVICES, LLC; E.MEX. FINANCIAL
SERVICES, INC.; R&C, INC. d/b/a TEMEX
MONEY EXCHANGE; SAN ISIDRO
MULTISEVICES INC.; CRIS WIN INC.
d/b/a BROWNSVILLE CASA DE
CAMBIO; ESPRO INVESTMENT LLC
d/b/a LONESTAR MONEY EXCHANGE;
AND ARNOLDO GONZALEZ, JR.,

          Plaintiffs,

     v.                                           Civil Action No. SA-25-cv-00344-FB

PAM BONDI, in her official capacity as
Attorney General; SCOTT BESSENT, in his
official capacity as Secretary of the Treasury;
UNITED STATES DEPARTMENT OF
THE TREASURY; ANDREA GACKI, in
her official capacity as the Director of the
Financial Crimes Enforcement Network;
FINANCIAL CRIMES ENFORCEMENT
NETWORK,


          Defendants.



                   CERTIFICATION OF ADMINISTRATIVE RECORD

      I, Kathryn Barela, certify as follows:
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       1.      I have served as the Records and Information Management Specialist—the

Records Officer for the Financial Crimes Enforcement Network (“FinCEN”), a bureau within the

Department of the Treasury, since August 2024

       2.      In this role, I oversee management and retention of FinCEN’s records, including

memoranda and other documents that comprise the administrative record relating to the

geographic targeting order (“GTO”)—issued on March 14, 2025 (and effective on April 14,

2025)—that covers money services businesses in 30 ZIP codes located in two counties in

California—Imperial and San Diego—and the following seven counties in Texas—Cameron, El

Paso, Hidalgo, Maverick, and Webb (the “SW Border GTO”). As such, I am authorized to certify

the truth and correctness of official records of FinCEN, and of other documents recorded or filed

with FinCEN.

       3.      The facts attested to herein are based on my personal knowledge or information

made available to me in the course of my official duties.

       4.      I hereby certify to the best of my knowledge and belief that the documents

described in the attached index constitute a true, correct, and complete copy of the non-

privileged documents that were directly or indirectly considered in connection with FinCEN’s

March 2025 decision to issue the SW Border GTO. FinCEN has redacted certain documents

within this administrative record, as well as the index, to remove

privileged or otherwise protected information before production to Plaintiffs.



       Pursuant to 28 U.S.C. § 1746, I certify and declare, under penalty of perjury, that the

foregoing is true and correct to the best of my knowledge, information, and belief.

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                             Executed this 25th day of April 2025 in Vienna, VA.
                                                      Digitally signed by Kathryn E.
                             Kathryn E. Barela        Barela
                                                      Date: 2025.04.25 16:36:01 -04'00'

                                Kathryn Barela
                                Records and Information Specialist
                                Financial Crimes Enforcement Network
                                U.S. Department of the Treasury
                                2070 Chain Bridge Road
                                Vienna, VA 22182




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FinCEN, Issuance of a Geographic Targeting Order Imposing Additional Recordkeeping and Reporting                  000001-03       N/A
Requirements on Certain money Services Businesses Along the Southwest Border, 90 FR 12106 (Mar. 14, 2025)

[Redacted] Information Memorandum for Director Andrea M. Gacki (Mar. 2025)                                        000004-20       N/A

FinCEN, FIN-2013-R001, Treatment of Armored Car Service Transactions Conducted on Behalf of Financial             000021-24        3
Institution Customers or Third Parties for Currency Transaction Report Purposes (July 12, 2013)

Treasury, National Money Laundering Risk Assessment (2024)                                                       000025-132       4, 8

FinCEN, FIN-2024-A002, Supplemental Advisory on the Procurement of Precursor Chemicals and                       000133-147      5, 8-9
Manufacturing Equipment Used for the Synthesis of Illicit Fentanyl and Other Synthetic Opioids (June 20, 2024)

Ryan C. Berg, Rubi Bledsoe and Michael Ferguson, Understanding the Impact of Remittances on Mexico’s             000148-167        5
Economy and Safeguarding Their Future Impact, Center for Strategic and International Studies (Jan. 15, 2025)

U.S. Drug Enforcement Administration, National Drug Threat Assessment (May 2024).                                000168-224        5

Natalie Kitroeff and Robert Gebeloff, The American Drug Mules Smuggling Fentanyl into the U.S., The New          000225-243        5
York Times (Sept. 28, 2024)

Vanda Felbab-Brown and Fred Dews, US-Mexico Relations and the fight against fentanyl trafficking, Brookings      000244-262        5
Institute (Oct. 8, 2024)

Executive Order 14157, “Designating Cartels and Other Organizations as Foreign Terrorist Organizations and       000263-264        6
Specially Designated Global Terrorists,” 90 FR 8439 (Jan. 20, 2025)

U.S. Department of State, “Designation of International Cartels” (Feb. 20, 2025)                                 000265-268        6




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Diego Ore, How Mexican narcos use remittances to wire U.S. drug profits home, Reuters (Aug. 18, 2023)             000269-282        6

FinCEN, FIN-2020-A008, Supplemental Advisory on Identifying and Reporting Human Trafficking and Related           000283-293        6
Activity (Oct. 15, 2020)

FinCEN, FIN-2023-Alert001, FinCEN Alert on Human Smuggling along the Southwest Border of the United               000294-303        7
States (Jan. 13, 2023)

FBI, “Money Mules”                                                                                                  000304          7

FinCEN, FIN-2019-A006, Advisory to Financial Institutions on Illicit Financial Schemes and Methods Related        000305-322        7
to the Trafficking of Fentanyl and Other Synthetic Opioids (Aug. 21, 2019)

Criminal Complaint, United States v. Chavez Zepeda, et al., No. 2:22-cr-00064 (E.D. Cal.) (filed Mar. 14, 2022)   000323-390        7

Criminal Indictment, United States v. Perez, et al., No. 1:17-cr-00200 (N.D. Ga., June 13, 2017)                  000391-402        7

Homeland Security Investigations, “Issue #57,” Cornerstone (Oct. 2024)                                            000403-408        9

[Redacted] Email from HSI to GID (Aug. 4, 2023)                                                                   000409-412        10

CTR filing analysis high level                                                                                      000413         N/A

CTR Stats + Border crossing stats                                                                                 000414-420       N/A

CTRs filed by ZIP code and relative to population, CA and TX counties highlighted                                 000421-426       N/A

CTRs filed by ZIP code and relative to population                                                                   000427         N/A

FinCEN SWB CTR Dashboard, Jan 1, 2022 - Jun 30, 2022                                                              000428-433       N/A


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[Redacted] Number of CTRs filed in Texas Border Counties, Jan-Dec. 2024                                 000434-441         N/A

Zip INFO                                                                                                000442-443         N/A

MSB Registrant Search (to access FinCEN List of Registered MSBs)                                        https://www        N/A
                                                                                                        .fincen.gov/
                                                                                                         msb-state-
                                                                                                           selector




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